     Case 3:20-cv-01450-D-BK Document 8 Filed 10/19/20               Page 1 of 1 PageID 21



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JEFFREY ALEXANDER STEWART,                      §
              Movant,                           §
                                                §
v.                                              §    Civil No. 3:20-CV-1450-D
                                                §    (Criminal No. 3:15-CR-543-D-3)
UNITED STATES OF AMERICA,                       §
               Respondent.                      §


                                            ORDER

        The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The undersigned district judge reviewed the proposed findings,

conclusions, and recommendation for plain error. Finding none, the court adopts the findings,

conclusions, and recommendation of the United States Magistrate Judge.

        SO ORDERED.

        October 19, 2020.


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                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE
